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                 Exhibit H
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                                          January 10, 2020


 VIA EMAIL ONLY

 Kenneth Goodkind
 Eric Clendening
 Flaster/Greenberg P.C.
 Commerce Center
 1810 Chapel Avenue West
 Cherry Hill, NJ 08002

        Re:     The HomeSource, Corp. v. Retailer Web Services, LLC
                Case No. 1:18-cv-11970-ECR-KMW

 Dear Ken and Eric:

         DTb_XcT cWT 9^dacnb ^aSTab c^ _a^SdRT UX]P]RXP[ S^Rd\T]cb' R^]caPRcb fXcW Xcb P[[TVTS[h [^bc
 customers, and for the experts to meet about P]S aTeXTf cWT \Xaa^a X\PVT ^U >^\TH^daRTnb
 database, HomeSource WPb bcX[[ UPX[TS c^ R^\_[h fXcW cWT 9^dacnb ^aSTab P]S R^]cX]dTb c^ TePST P
 meet and confer. This letter outlines the deficiencies in F[PX]cXUU IWT >^\TH^daRT' 9^a_)nb
 $lHomeSourcem% document production. Additionally, please let us know when you are available
 for a meet and confer on January 14, 15 or 16, and when your expert is available to confer regarding
 cWT _a^SdRcX^] ^U >^\TH^daRTnb \Xaa^a X\PVT ^] cW^bT SPcTb)

        More than 500 days ago, in August 2018, :TUT]SP]c GTcPX[Ta LTQ HTaeXRTb' BB9 $lGLHm%
 served its first set of discovery requests to HomeSource. Since that time, and despite repeated
 emails and meet and confers between counsel, HomeSource has delayed producing documents
 relevant to Xcb R[PX\b P]S GLHnb STUT]bTb) >^\TH^daRTnb STUXRXT]c _a^SdRcX^] fPb PSSaTbbTS
 through numerous emails and court conferences, including GLHnb BTccTa bTTZX]V [TPeT c^ file a
 motion to compel [Dkt. 105-1], during the partiesn October 7, 2019 discovery conference, and
 cWa^dVW cWT 9^dacnb ERc^QTa ,,' -+,4 SXbR^eTah ^aSTa' fWXRW SXaTRcTS >^\TH^daRT c^ Ud[[h
 aTb_^]S c^ bTeTaP[ ^U GLHnb _T]SX]V aT`dTbcb.1


 1
   The following listing of deficiencies is non-exhaustive. RWS does not waive, and expressly
 preserves, all rights and remedies with respect to enforcing its rights to obtain full discovery in
 accordance with the Federal Rules of Civil Procedure and applicable case law.
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 1. HomeSource Has Not ComPLJFE @JSI =IF 0OTQSXR 9QEFQ =O 4BUF =IF 2VPFQSR 7FFS And
 Confer And To Provide The Mirror Image. IWT 9^dacnb ERc^QTa ,1' -+,4 ^aSTa SXaTRcb
 HomeSource to have the experts meet and confer on the search undertaken by HomeSource and
 for HomeSource to \PZT cWT \Xaa^a X\PVT ^U Xcb [^Vb*SPcPQPbT PePX[PQ[T c^ GLHnb Tg_Tac5

        HomeSource shall make cWT l\Xaa^a X\PVTm ^U cWT SPcPQPbT PePX[PQ[T c^ STUT]SP]cnb
        expert. The experts shall meet and confer and confirm the search undertaken by
        _[PX]cXUUnb Tg_Tac P]S cWT bTPaRW _a^c^R^[ c^ QT d]STacPZT] Qh STUT]SP]cnb Tg_Tac)
        Defendant shall provide plaintiff with the search protocol. If there are objections to
        STUT]SP]cnb _a^_^bTS bTPaRW _a^c^R^[' cWT _PacXTb bWP[[ _aTbT]c cWT XbbdT c^ cWT
        Court. (Dkt. 129 p. 4.)

        :daX]V cWT ERc^QTa 2' -+,4 WTPaX]V' cWT 9^dac P[b^ Tg_[PX]TS cWPc' bdQYTRc c^ cWT 9^dacnb
 approeP[ ^U :a) 8PhdZnb _a^c^R^[' :a) 8PhdZ \Ph ad] WTa ^f] bTPaRW ^U cWT \Xaa^a X\PVT5




 (Oct. 7, 2019 Hr. Tr. p. 119.)

        The alleged cyberattacks occurred seventeen months ago, and it has been over three months
 since Judge Williams ordered cWT Tg_Tacb c^ \TTc P]S R^]UTa ^] >^\TH^daRTnb bTPaRW' Pb P
 precursor for our expert to develop her own search protocol, and that HomeSource make the mirror
 X\PVT PePX[PQ[T c^ GLHnb Tg_Tac) Yet, inexplicably, HomeSource continues to prohibit its expert
 from speaking fXcW GLHnb Tg_Tac as ordered by the Court in October 2019, has evaded such a
 conferral, and HomeSource has not produced the mirror image.

 2. HomeSource Has Not Identified Its Lost Customers And Associated Damages In A
 Discernable Format. The 9^dacnb ERc^QTa ,1' -+,4 EaSTa SXaTRcb >^\TH^daRT c^ XST]cXUh TPRW
 of its alleged lost customers and the damages associated with each purported lost customer, and in
 a consolidated format cWPc bTcb U^acW TPRW Rdbc^\Tanb ]P\T P]S cWT SP\PVTb Pbb^RXPcTS fXcW TPRW5

        HomeSource shall identify each customer it allegedly lost and the purported
        damages HomeSource incurred as a result of each lost customer. To this end, the
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        Court determined that the information may be contained in various documents
        already produced by HomeSource, however, the information is not provided in a
        reasonable manner susceptible of discernment by defendant. The Court
        encourages plaintiff to consolidate the information in one document that
        clearly sets forth the name of each customer and damages asserted as to each
        customer. (Dkt. 129 p. 3) (emphasis added).

        >^\TH^daRTnb aTeXbTS b_aTPSbWTTc' _a^SdRTS ^] :TRT\QTa 0' -+,4' UP[[b bW^ac ^U cWXb
 mandate because it fails to specify what damages HomeSource claims to have incurred as a result
 of each lost customer. Instead, the spreadsheet appears to calculate damages based upon each
 industry group. Please specifically identify each allegedly lost customer, and the damages
 allegedly incurred by each lost customer as mandated by the Court by on January 15, 2020.
 Otherwise, please let us when you are available for a meet and confer on the above dates.

 3. HomeSource Has Not Produced All Customer Contracts. Your email from December 9,
 2019 included a link to download documents bates numbered HomeSource 014776 k 015098. You
 represented that these documents were customer contracts. Upon reviewing the files, however, we
 have confirmed that, with two exceptions (i.e., a spreadsheet and blank agreement template), each
 is a JPEG image file. These images are heavily redacted and are not contracts. Instead, they appear
 to be screengrabs from a computer system that include only an un-redacted date. Such a document
 is (which HomeSource inexplicably designated as AEO):




 (HomeSource 014776.)

 F[TPbT _a^SdRT TPRW ^U >^\TH^daRTnb Rdbc^\Ta R^]caPRcb by January 15. Additionally, as the
 Discovery Confidentiality Order does not provide for redactions to AEO-designated materials,
 please produce them as un-redacted documents.
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 4. 4OMF<OTQDFXR 4BR 8OS :QOUJEFE :BWMFNS 4JRSOQJFR. HomeSource has not provided payment
 histories for the few alleged customers identified X] cWT lPVaTT\T]cbm cWPc >^\TH^daRT WPb
 produced (e.g., HomeSource 004097 k 004099). RWS requires payment information for each
 claimed lost customer to examine >^\TH^daRTnb SP\PVTb cWT^aXTb and to determine whether
 HomeSource has, in fact, lost revenues. RWS requested this information in Request for Production
 No. 23, which was served more than 500 days ago. >^\TH^daRTnb aTb_^]bT Xb ^eTaSdT, and if
 HomeSource is unwilling to supplement these documents by January 15, please let us know when
 you are available for a meet and confer on the above dates.

 5. HomeSource Has Impermissibly And Unilaterally Redacted Discovery. Many of the
 documents HomeSource produced in discovery contain impermissible, unilateral redactions.
 These include the purported lR^]caPRcbm SXbRdbbTS _aTeX^db[h' Pb fT[[ Pb ]d\Ta^db T\PX[b
 produced by HomeSource on December 2, 2019 (e.g., HomeSource 004104 k 004309). The
 Discovery Confidentiality Order [Dkt. 22] filed in this matter does not authorize redactions.
 C^aT^eTa' d]X[PcTaP[ aTSPRcX^]b QPbTS d_^] >^\TH^daRTnb ^f] bdQYTRcXeT eXTf ^U aT[TeP]Rh PaT
 improper. Engage Healthcare Commc'ns, LLC v. Intellisphere, LLC, No. 12CV00787FLWLHG,
 2017 WL 3624262, at *4 (D.N.J. Apr. 26, 2017); see Orion Power Midwest, L.P. v. American Coal
 Sales Co., No. 2:05-cv-555, 2008 WL 4462301, at *1k2 (W.D. Pa. Sept. 30, 2008) (affirming a
 b_TRXP[ \PbcTanb aTPb^]X]V lcWPc redaction of documents is disfavored and is appropriate only in
 [X\XcTS RXaRd\bcP]RTbm and finding that there is no express or implied support in the Federal Rules
 ^U 9XeX[ Fa^RTSdaT Qh lfWXRW P _Pach f^d[S bRadQ aTb_^]bXeT S^Rd\T]cb ^U ]^]-responsive
 X]U^a\PcX^])m%) HX]RT >^\TH^daRTnb d]X[PcTaP[ aTSPRcX^]b ^U Socuments produced in discovery is
 unwarranted and improper, produce un-aTSPRcTS eTabX^]b ^U >^\TH^daRTnb S^Rd\T]c _a^SdRcX^]b
 by January 15, or, if HomeSource is unwilling or unable to do so, please let us know when you are
 available for a meet and confer on the above dates.

 6. 7Q$ @IJSFXs Declaration Indicates That HomeSource Is Withholding Evidence Of The
 Hacking And Cyberattacks. IWT 9^dacnb ^aSTa _a^eXSTb cWPc:

        HomeSource shall provide an affidavit or certification detailing all information it
        possesses concerning the alleged hacking and/or cyber-attacks and/or denial of
        bTaeXRT $l:^Hm% P]S*^a SXbcaXQdcTS ST]XP[ ^U bTaeXRT $l::^Hm% PccPRZbj IWT
        affidavit or certification shall further confirm that any and all information
        concerning the alleged cyber and/or hacking attacks has been produced to RWS[.]

         Ca) LWXcTnb STR[PaPcX^], which HomeSource produced in response to the order, reveals
 that HomeSource has not producTS lP]h P]S P[[ X]U^a\PcX^])m ?]bcTPS' Ca) LWXcT bcPcTb cWPc lNPO]h
 and all information that we have identified as related to the cyber and/or hacking attacks, and
 which we believe does not contain private third party data' WPb QTT] _a^SdRTS c^ GLH)m
 HomeSource cannot withhold relevant and discoverable information based upon vague,
 unsubstantiated claims that the information includes third-party data. Please supplement
 >^\TH^daRTnb _a^SdRcX^] c^ X]R[dST P]h P]S P[[ X]U^a\PcX^] aTVPaSX]V cWT PccPRZb) I^ cWT extent
 HomeSource believes that the information includes third-party data, HomeSource may designate
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